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     Attorney for Debtor(s)
 6
                                    UNITED STATES BANKRUPTCY COURT
 7

 8                                  NORTHERN DISTRICT OF CALIFORNIA

 9
     In re:                                             Case No. 19-51427
10
                                                        Chapter 13
11   MANZANARES, Efrain
                                                        MOTION TO EXTEND AUTOMATIC
12   MANZANARES, Nora                                   STAY AS TO ALL CREDITORS
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              Debtor(s)
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16         TO THE CHAPTER 13 TRUSTEE AND TO ALL CREDITORS OF EFRAIN
     MANZANARES AND NORA MANZANARES:
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              COME NOW the debtors herein, Efrain Manzanares and Nora Manzanares, who move
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19   this Honorable Court as follows:

20            Relief requested: An order under section 362(c)(3)(B) of the Bankruptcy Code continuing in
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     effect for the duration of this case, the Automatic Stay imposed under section 362(a) past the initial 30-
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     day period prescribed by section 362(c)(3)(A). Said continuance of the Automatic Stay is requested as
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     to all creditors. Said Order is necessary as the debtor had a previous Chapter 13 case pending within one
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25   year previous to the filing of the within case.

26            This motion is made on the grounds that the present Chapter 13 case was filed in good faith and
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     that the continuance of the Automatic Stay is necessary to protect and preserve the bankruptcy estate and
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 1   that the continuance of the Automatic Stay is in the best interests of the debtors, creditors, and the
 2
     bankruptcy estate.
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             This motion is based on the Notice of Hearing, the Points and Authorities, the Declaration of
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     Debtors in Support of Motion, and on all of the schedules, statements, and documents on file in this
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 6   case.

 7                                                                 Respectfully submitted,
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 9
     Dated: July 17, 2019                                          /s/ Jason Vogelpohl_______
10                                                                  JASON VOGELPOHL
                                                                    Attorney for Debtors
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